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                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF VIRGINIA
                                  ALEXANDRIA DIVISION

     UNITED STATES, et al.,

                          Plaintiffs,

           vs.                                               No: 1:23-cv-00108-LMB-JFA

     GOOGLE LLC,

                          Defendant.


                        JOINT MOTION TO CORRECT THE RECORD

          1.     On September 25, 2024, counsel for Google mistakenly moved to admit pages from

   DTX 1071, a Form 10-K filed by Criteo S.A. for the fiscal year ending December 31, 2020, in

   connection with the deposition of Todd Parsons from Criteo. Sept. 25, 2024 PM Trial Tr. at

   159:12-15.

          2.     As counsel for Google explained on the record on September 27, 2024, the correct

   exhibit that should have been admitted in connection with the deposition of Todd Parsons from

   Criteo was DTX 1420, a Form 10-K filed by Criteo S.A. for the fiscal year ending December 31,

   2022. Sept. 27, 2024 AM Trial Tr. at 38:18-20. DTX 1420 was used as an exhibit during the Todd

   Parsons deposition. On September 27, 2024, the relevant pages of DTX 1420 that were discussed

   at the deposition were admitted into evidence. Sept. 27, 2024 AM Trial Tr. at 44:1-10.

          3.     On September 27, 2024, after the relevant pages of DTX 1420 were admitted,

   counsel for Google mistakenly stated that DTX 1071 should not be stricken from the record

   because it was used in connection with the Todd Parsons deposition. The Court admitted the cover

   page and page 292 of DTX 1071. Sept. 27, 2024 AM Trial Tr. at 44:11-16. Upon review, DTX




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   1071 was not used as an exhibit during the Todd Parsons deposition. DTX 1071 also was not

   separately moved into evidence by either party.

          4.      Accordingly, to correct the record, the parties jointly move to strike the admitted

   pages of DTX 1071 from the record.1

          5.      The parties have met and conferred regarding the relief requested herein, and both

   Google and Plaintiffs join in this motion.




   1
    The Court admitted the cover page and page 292 of DTX 1071. However, DTX 1071 does not
   contain a page 292 as the exhibit is only 223 pages. Therefore, the Court need only strike the cover
   page of DTX 1071 from the record.

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    Dated: October 2, 2024               Respectfully submitted,

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